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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

U.S. EQUAL EMPLOYMENT                          §
OPPORTUNITY COMMISSION,                        §
                                               §
                       Plaintiff,              §      Civil Action No. 4:21-cv-03187
               v.                              §
                                               §
AMERICAN PIPING                                §
INSPECTION, INC.                               §      Jury Trial Demanded
                                               §
                       Defendant.              §
                                               §

  UNOPPOSED MOTION TO CONTINUE SCHEDULING CONFERENCE AND FOR
    EXTENSION OF TIME TO FILE A RULE 26(F) JOINT DISCOVERY/CASE
                       MANAGEMENT PLAN


       Plaintiff U.S. Equal Employment Opportunity Commission files this Unopposed Motion

to Continue Scheduling Conference and for Extension of Time to File a Rule 26(f) Joint

Discovery/Case Management Plan, respectfully asking the Court for a 30-45 day continuance. In

support of its Motion, Plaintiff makes the following showing:

       1.      On September 30, 2021, Plaintiff filed this suit for damages against Defendant

American Piping Inspection, Inc. (“API”) on behalf of Stillman Leday for alleged violations of

Title VII of the Civil Rights Act, as amended 42 U.S.C. 2000e, et seq. Specifically, Plaintiff alleges

that API discriminated against Mr. Laday by subjecting him to a race-hostile work environment

created by management and by discharging him because of his race and in retaliation for

complaining about the harassment.

       2.      Defendant was served process on November 12, 2021. Defendant’s Answer is not

due until December 3, 2021, which is after the deadline to file the Joint Discovery/Case

Management Plan. The Scheduling Conference is currently set for December 13, 2021.
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          3.     Good cause exists for the requested 30-45 day continuance and extension of time.

As Defendant has not yet filed an appearance in the case, the undersigned counsel for Plaintiff

cannot yet engage in the Rule 26(f) conference. Consequently, the parties cannot file with the

Court a Joint Discovery case management plan by the existing filing deadline, December 1, 2021.

          4.     Additionally, the undersigned counsel for Plaintiff is currently preparing for trial in

another matter before the U.S. District Court for the Southern District of Texas and must appear

for docket call in that case on December 13, 2021, the same day as the current Scheduling

Conference is set in this matter. Counsel for Plaintiff requests a 30-45 day continuance of the

Scheduling Conference and extension of time to file the Joint Discovery/Case Management Plan

to allow the parties an adequate amount of time to confer and exchange initial disclosures as

required by Fed. R. Civ. P. 26.

          5.     Counsel for Plaintiff has spoken to the anticipated counsel for Defendant who does

not oppose the to the relief sought in this Motion.

          6.     This Motion is not presented for purposes of delay but rather in the interest of

justice. As no deadlines have been set in this case, no deadlines will be affected by the requested

relief.

          WHEREFORE, Plaintiff respectfully requests the Court grant this Motion and enter a new

Order for Conference, resetting the Rule 16 Scheduling Conference and Joint Discovery/Case

Management Plan deadline 30-45 days from December 13, 2021.

                                                Respectfully submitted

                                                s/ Claudia Molina-Antanaitis
                                                Claudia Molina-Antanaitis
                                                Attorney-in-Charge
                                                Maryland Bar No. 0212180252
                                                U.S. Equal Employment Opportunity Commission
                                                1919 Smith Street, 6th Floor
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                                    CERTIFICATE OF SERVICE

I hereby certify that on November 22, 2021, a true and correct copy of this Unopposed Motion to
Continue Scheduling Conference and for Extension of Time to File a Rule 26(f) Joint
Discovery/Case Management Plan and its accompanying exhibits were filed through the Court’s
ECF system. As Defendant has not yet filed an appearance in this matter, I certify that I am serving
the anticipated counsel for Defendant as well as Defendant’s registered agent for service by U.S.
mail, first-class mail and by electronic mail as follows:

S. Craig Wilcox
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Orville J. McBride
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                                              s/ Claudia Molina-Antanaitis
                                              Claudia Molina-Antanaitis
